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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                              FT. LAUDERDALE DIVISION

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                                                      )
   In Re Third Party Subpoena to Fusion GPS           )   Case No. 18-MC-60528-UNGARO
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                   NON-PARTY FUSION GPS’ UNOPPOSED
        MOTION FOR LEAVE TO FILE MOTION IN EXCESS OF PAGE LIMIT

        Non-Party Fusion GPS, by and through undersigned counsel, moves, with consent, for

 leave to file a motion to quash that exceeds the page limitation designated by Local Rule

 7.1(c)(2). The grounds for this motion are set forth in the incorporated memorandum of law.

                                  MEMORANDUM OF LAW

        Rule 7.1(c)(2) of the Southern District’s Local Rules provides that, “[a]bsent prior

 permission of the Court, neither a motion and its incorporated memorandum of law nor the

 opposing memorandum of law shall exceed twenty (20) pages.” S.D. Fla. L.R. 7.01(c)(2) (2018).

        The instant dispute involves Fusion GPS’s motion to quash Plaintiffs Aleksej Gubarav,

 XBT Holding S.A. and Webzilla, Inc.’s overbroad and burdensome subpoena issued to it in

 connection with their defamation claims against Buzzfeed and Ben Smith (the “Buzzfeed

 Defendants”). That motion was originally brought in the U.S. District Court for the District of

 Columbia. After that motion was fully briefed, the Hon. Trevor McFadden transferred the

 motion to the U.S. District Court for the Southern District of Florida. ECF No. 22. This Court

 then requested that Fusion recast its motion to quash to comply with Local Rule 26.1(g)(3). ECF

 No. 42. Local Rule 26.1(g)(3) requires that motions for protective order state: (A) verbatim the
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 specific item of discovery; (B) the type of protection the party request; and (C) the reason

 supporting the protection.

        The subpoena at issue contains nineteen areas of inquiries and eleven document requests.

 Despite Fusion GPS’s best efforts to limit its arguments, it has not been able to adequately

 address each area of inquiry and document request within the twenty (20) page limit set forth in

 S.D. Fla. L.R. 7.1(C)(2). Accordingly, Fusion requests that this Court enlarge the page limit

 from 20 to 25 pages so that it may adequately address each topic contained in the subpoena.

                                 GOOD FAITH CERTIFICATE

        Counsel for Fusion GPS conferred with Evan Fray-Witzer, counsel for Plaintiffs.        Mr.

 Fray-Witzer indicated that Plaintiffs consent to the relief requested herein.

        WHEREFORE, Fusion GPS respectfully requests the Court to enter an order granting it

 leave to file a 25-page motion to quash Plaintiffs’ subpoena.

                                                Respectfully submitted,

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                                                   Counsel for Non-Party Fusion GPS

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 31st day of May, 2018, I electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system which will provide

 Electronic Mail to the following:

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                                            /s/ Marcos E. Hasbun
                                            Marcos E. Hasbun




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